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                                                                                11.S. DISTRICT COURT
                                                                            EASTERN DISTRICT OF TEXAS
                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS                        JAN 0 9 2019
                                    BEAUMONT DIVISION

    U ITED STATES OF AMERICA                  §                            BY
                                              §                            DEPUTY
    v.                                        §     NO. 1T9-CR- 11
                                              §           Cro ne- Ma ho
    ANTHONY MILLER                            §
                                         INDICTMENT

    THE UNITED STATES GRAND JURY CHARGES:


                                           Count One

                                                    Violation: 18U.S.C. § 1791(a)(2)
                                                    (Inmate in Possession of a Prohibited
                                                    Object)

          On or about August 11, 2018, Anthony Miller, defendant, being an inmate of the

    Federal Correctional Complex, Beaumont, Texas, located in the Eastern District of Texas,

    did knowingly possess a prohibited object, namely a weapon, that is, an approximately

    five-and-one-half inch object, sharpened to a point on one end and wrapped with a cloth

    on the other end, as an object that was designed and intended to be used as a weapon.

          In violation of 18 U.S.C. § 1791(a)(2).



                                             A TRUE BILL



                                             GRAND JURY FOREPERSON
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JOSEPH D. BROWN
United States Atto ey




K. P. KE NEDY GATES                     Date
Assistant U.S. Attorney
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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             BEAUMONT DIVISION

UNITED STATES OF AMERICA §

V.                                       § NO. U19-CR- 1)
                                         §
ANTHONY MILLER
                              NOTICE OF PENALTY

                                       Count One



     Violation:              18 U.S.C. § \19l{di)(2Y

     Penalty:                Imprisonment of not more than five years, a fine not
                             to exceed $250,000 or twice the pecuniary gain to the
                             defendant or loss to the victim, or both; a term of
                             supervised release of not more than three years.


     Special Assessment:     $100.00

*NOTE: Any punishment imposed for a violation of 18 U.S.C. § 1791(a)(2) by an inmate
shall be consecutive to the sentence being served by such inmate at the time the inmate
committed such violation.
